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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                     CRIM. CASE NO. 13-20764
               Plaintiff,

v.                                                   PAUL D. BORMAN
                                                     UNITED STATES DISTRICT JUDGE

D-13 CHARLES DAVIS,

            Defendant.
_____________________________/

                              ORDER
      DENYING DEFENDANT’S MOTION TO STRIKE SURPLUSAGE (Dkt #204)

       Defendant is identified in the instant indictment as “Charles Davis a/k/a “2C’s.”

Defendant moves to have the Court strike the phrase “a/k/a 2C’s.” Federal Rule of Criminal

Procedure 7(d) permits the Court upon defendant’s motion to strike surplusage from the

indictment.

       Defendant contends that there is no legitimate basis for adding this alias, except to

impermissible prejudice Defendant Davis.

       The Government’s response states that Defendant’s alias is relevant to the proofs at trial

insofar as identifying Defendant Davis in that many witnesses did not know members of the

Phantoms Motorcycle Club by their legal names, but instead by their aliases.

       The Sixth Circuit stated in United States v. Emuegbunam, 268 F.3d 377, 394-95 (6th Cir.

2001), citing United States v. Wilkerson, 456 F.2d 57, 59 (6th Cir. 1972), that “while we strongly

disapprove of the practice of including aliases in indictments,” it is permissible “when proof of


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an alias is relevant to identifying a defendant.”

       In the instant case, that is the Government’s reason for including “a/k/a 2C’s” in the

indictment. The Court also notes that the a/k/a term “2C’s” is not prejudicial as would be, for

example, the a/k/a “Capone.”

       Accordingly, Defendant’s Motion to Dismiss Surplusage is DENIED.

       SO ORDERED.




                                               s/Paul D. Borman
                                               PAUL D. BORMAN
                                               UNITED STATES DISTRICT JUDGE

Dated: July 1, 2014



                                  CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or
party of record herein by electronic means or first class U.S. mail on July 1, 2014.


                                               s/Deborah Tofil
                                               Case Manager




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